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                                IN THE UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA
                                        Case No.: 17-cv-60426-UU

       ALEKSEJ GUBAREV, XBT HOLDING S.A.,
       AND WEBZILLA, INC.,

             Plaintiffs,

       vs.

       BUZZFEED, INC. AND BEN SMITH,

         Defendants.
       ____________________________________/
                                                  PROOF OF SERVICE

                I, Alison Schary, pursuant to 29 U.S.C. § 1746, hereby declare as follows:

         1. I am an attorney at the law firm of Davis Wright Tremaine LLP, located at 1919

                Pennsylvania Avenue NW, Washington, DC 20006. I represent the Defendants in the

                above-captioned matter.

         2. Pursuant to the Court’s December 18 Order, D.E. 384, the parties prepared and served

                notices to third parties concerning the proposed unsealing of materials. By agreement

                between the parties, Defendants prepared and served notices to David Kramer (on behalf

                of Defendants only), Bitly, Inc. (on behalf of both parties), and the FBI (on behalf of both

                parties). Plaintiffs prepared and served notices to Fusion GPS (on behalf of Plaintiffs only),

                KGlobal (on behalf of Plaintiffs only), Christopher Steele (on behalf of both parties), and

                CNN (on behalf of both parties).1

         3. In order to effectuate service upon Mr. Kramer, Bitly, and the FBI, I took the following

                actions:


   1
     Defendants expect that Plaintiffs will provide their own submission to the Court with proof of
   service for these four Notices.
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           a. On December 27, 2018, I caused to be served via certified mail a Notice of the

              Potential Unsealing of Confidential Documents upon non-party, the FBI, sent to

              Ms. Anjali Motgi, U.S. Department of Justice, 950 Pennsylvania Avenue NW,

              Washington, DC 20530-0001. I also sent a courtesy copy of the same Notice to

              Ms. Motgi via email. Attached hereto as Exhibit 1 is a true and correct copy of the

              certified mail receipt, indicating that this mailing was received on December 31,

              2018.

           b. On December 27, 2018, I caused to be served via certified mail a Notice of the

              Potential Unsealing of Confidential Documents upon non-party, Bitly, Inc., sent to

              its registered agent, The Corporation Trust Company, located at Corporation Trust

              Center, 1209 Orange Street, Wilmington, DE 19801. I also sent a courtesy copy of

              the same Notice via email to Bitly’s counsel, Tyler Newby of Fenwick & West

              LLP. Attached hereto as Exhibit 2 is a true and correct copy of the certified mail

              receipt, indicating that this mailing was received on December 31, 2018.

           c. On December 26, 2018, I emailed Mr. Marcos Jiménez and Mr. John Byrne—

              counsel for non-party, David Kramer—to ask if they would accept service on behalf

              of Mr. Kramer. On December 27, 2018, Mr. Jiménez agreed to accept service on

              Mr. Kramer’s behalf. On December 28, 2018, I caused to be served via email to

              Mr. Jiménez and Mr. Byrne a Notice of the Potential Unsealing of Confidential

              Documents upon non-party, David Kramer. Attached hereto as Exhibit 3 is a true

              and correct copy of my email correspondence with Mr. Jiménez and Mr. Byrne,

              indicating their consent to receive notice by email on Mr. Kramer’s behalf and

              demonstrating my service of that Notice.



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